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                      EXHIBIT 1
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    1   ROB BONTA
        Attorney General of California
    2   PAUL STEIN
        Supervising Deputy Attorney General
    3   SHARON L. O'GRADY
        Deputy Attorney General
    4   State Bar No. 102356
         455 Golden Gate Avenue, Suite 11000
    5    San Francisco, CA 94102-7004
         Telephone: (415) 510-3834
    6    Fax: (415) 703-1234
         E-mail: Sharon.OGrady@doj.ca.gov
    7   Attorneys for Defendant
    8
                          IN THE UNITED STATES DISTRICT COURT
    9
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
                                   WESTERN DIVISION
   11
   12
   13   MINDS, INC., et al.,                   2:23-cv-02705- RGK-MAAx
   14                               Plaintiffs, MEMORANDUM IN SUPPORT OF
                                                DEFENDANT’S MOTION TO
   15               v.                          DISMISS AMENDED
                                                COMPLAINT
   16   ROBERT BONTA,
                                              Date:          June 26, 2023
   17                              Defendant. Time:          9:00 a.m.
                                              Courtroom:     10B
   18                                         Judge:         The Honorable R. Gary
                                                             Klausner
   19                                          Trial Date: None set
                                               Action Filed: April 13, 2023
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    1                                    INTRODUCTION
    2        Plaintiffs challenge Assembly Bill 587, a straightforward disclosure statute
    3   that requires social media companies with annual gross revenues of at least $100
    4   million to publicly disclose information about their content-moderation policies and
    5   decisions, i.e., whether and how they take action against content and users that
    6   violate their terms of service. The statute is intended to provide transparency to
    7   California consumers. Notwithstanding Plaintiffs’ hyperbole, the statute does not
    8   dictate either the substantive content of any platform’s terms of service or the
    9   manner in which those terms must be enforced. The case should be dismissed.
   10        Preliminarily, Plaintiffs’ [First] Amended Complaint, Docket entry 20
   11   (“FAC”), fails to allege a case or controversy under Article III of the Constitution.
   12   The initial complaint was brought on behalf of three Plaintiffs who are not required
   13   to make disclosures under the statute. Their only claims of harm were—and still
   14   are—based on speculative and conclusory allegations about the law’s downstream
   15   effects on social media platforms and users who are not subject to its requirements.
   16   The FAC, filed after the Attorney General moved to dismiss the initial complaint,
   17   seeks to cure the standing problem by adding a fourth Plaintiff—a national
   18   association of religious broadcasters that allegedly has a single member covered by
   19   the law’s disclosure requirements. But the FAC still fails to allege a justiciable
   20   controversy. The one allegedly affected member, Salem Media Group, Inc., will
   21   allegedly be subject to investigation and fines if “Attorney General Bonta believe[s]
   22   that [it] has not correctly categorized, flagged, and actioned speech on its
   23   platforms.” FAC ¶ 107. This claim of injury is totally divorced from the statute’s
   24   actual requirements, however. Salem and other covered social media companies
   25   simply must disclose their terms of service, along with certain information about
   26   content-moderation decisions they have made based on their own policies and
   27   practices. Nothing in AB 587 allows the Attorney General to “second guess”
   28   Salem’s “categorization, flagging, and actioning” of any content. Id. ¶¶ 31-32

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    1   (misnumbered, at page 10), 107. The statute does not dictate any company’s
    2   content-moderation rules or require that any company take action against or restrict
    3   access with respect to any particular item of content or user.
    4        Even if Plaintiffs could establish standing, Plaintiffs still fail to state any claim
    5   as a matter of law. Plaintiffs’ First Amendment challenge fails because the statute
    6   simply requires that social media companies make purely factual disclosures about
    7   their terms of service, a requirement that is constitutionally permissible under
    8   longstanding Supreme Court and Ninth Circuit jurisprudence. Although Plaintiffs
    9   claim that AB 587 will make it more likely that (other) social media platforms will
   10   “censor” their posts, the Ninth Circuit has made clear that social media platforms
   11   are private actors, and that, absent exceptional circumstances not alleged here, the
   12   State cannot be held responsible for their content-moderation decisions.
   13        Plaintiffs’ constitutional overbreadth and vagueness claims fail as a matter of
   14   law for the same reasons. AB 587 does not regulate what users may say on social
   15   media, or what social media platforms can or must do to moderate content that they
   16   deem harmful or otherwise inappropriate under their own policies. It simply
   17   requires social media companies to provide greater transparency about their
   18   content-moderation rules and the steps they take to enforce those rules.
   19        The defects in the FAC cannot be cured. The Court should dismiss the FAC
   20   without leave to amend.
   21                                      BACKGROUND
   22   I.   ASSEMBLY BILL 587
   23        Social media platforms, such as Twitter, have terms of service, including
   24   content-moderation rules, to which individuals must agree as a condition of using
   25   the platform. See, e.g., O’Handley v. Padilla, 579 F. Supp. 3d 1163, 1172 (N.D.
   26   Cal. 2022), aff’d sub. nom. O’Handley v. Weber, 62 F.4th 1145 (9th Cir. 2023).
   27   These rules give the platform the right to take action against content or users that
   28   violate the rules. Id. at 1186. In recent years, content-moderation by social media

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    1   companies has drawn public concern, with numerous lawsuits filed by users whose
    2   accounts were limited or suspended for posting content that violated the platforms’
    3   rules. See, e.g., Informed Consent Action Network v. YouTube, Inc., 582 F. Supp.
    4   3d (N.D. Cal. 2022); Yuksel v. Twitter, Inc., No. 22-cv-05415-TSH, 2022 WL
    5   16748612 (N.D. Cal. Nov. 7, 2022); King v. Facebook, Inc., 572 F. Supp. 3d 776
    6   (N.D. Cal. 2021); Murphy v. Twitter, Inc, 274 Cal. Rptr. 3d 360 (Ca1. Ct. App.
    7   2021). Some states have passed laws prohibiting social media platforms from
    8   moderating, restricting, or otherwise limiting particular kinds of content.
    9   NetChoice, LLC v. Att’y Gen., 34 F.4th 1196, 1205-1206 (11th Cir. 2022)
   10   (describing Florida statute); NetChoice, LLC v. Paxton, 49 F.4th 439, 445-446 (5th
   11   Cir. 2022) (describing Texas statute). In marked contrast, California’s recently
   12   passed Assembly Bill 587 (2022 Cal. Stats., ch. 269) (“A.B. 587”) does not regulate
   13   content-moderation policies or decision-making by private social media platforms.
   14   It is simply a disclosure statute.
   15        Codified at California Business and Professions Codes sections 22675-22681,1
   16   AB 587 provides that social media companies, as defined in the statute,2 must post
   17   the terms of service for each social media platform owned or operated by the
   18   company “in a manner reasonably designed to inform all users of the social media
   19   platform of the existence and contents of the terms of service.” § 22676(a). The
   20   posted terms of service must contain a “description of the process users must follow
   21   to flag content, groups, or other users that they believe violate the terms of service,”
   22   “the social media company’s commitments on response and resolution time,” and a
   23
   24
              1
                 All statutory citations are to the California Business and Professions Code,
   25   unless otherwise indicated. For the convenience of the Court, AB 587 is attached
   26   as an appendix to this brief.
               2
                 AB 587 defines “social media company” as a person or entity that owns or
   27   operates one or more “social media platforms.” § 22675(d). A “social media
        platform” is defined as a “public or semi-public internet-based service that has
   28   users in California and meets” specific criteria. § 22675(e).
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  1   “list of potential actions the social media company may take against an item of
  2   content or a user….” § 22676(b).
  3        The social media companies also must, commencing January 1, 2024, submit
  4   to the Attorney General a semi-annual “terms of service report” containing specific
  5   factual information. § 22677(a)-(b). The reports must include the “current version
  6   of the platform’s terms of service” and a “detailed description of content
  7   moderation practices used by the social media company ….” § 22677(a)(1), (a)(4).
  8   The reports must also include a statement of “whether the current version of the
  9   terms of service define each of the following categories of content, and, if so, the
 10   definitions of those categories,” and “any existing policies intended to address the
 11   categories,” which are: “[h]ate speech or racism”; “[e]xtremism or radicalization”;
 12   “[d]isinformation or misinformation”; “[h]arassment”; and “[f]oreign political
 13   interference.” § 22677(a)(3), (a)(4)(A). Finally, the reports must include
 14   “information on content that was flagged by the social media company as content
 15   belonging to any of the categories,” including the number of items of content that
 16   were “flagged” or “actioned” by the social media company, and how those items of
 17   content were “flagged” of “actioned,” e.g., whether by company employees,
 18   artificial intelligence software, or users. § 22676(a)(5), (a)(5)(B)(iv)-(v). The
 19   Attorney General shall compile all terms of service reports and make them publicly
 20   available in a “searchable repository on its official internet website.” § 22676(c).
 21        Exempt from the statute are social media companies with annual gross
 22   revenues of less than $100 million. § 22680. Also exempt are platforms “for
 23   which interactions between users are limited to direct messages, commercial
 24   transactions, consumer reviews of products, sellers, services, events, or places, or
 25   any combination thereof.” § 22681.
 26        Nothing in AB 587 requires social media companies to disclose the identities
 27   of or information about specific users. See §§ 22675-81. Nothing in AB 587
 28   dictates the substantive content of social media companies’ terms of service. See

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  1   §§ 22675-81. Nothing in AB 587 requires that social media companies take, or
  2   prohibits them from taking, any action whatsoever against any item of content or
  3   user. See §§ 22675-81. And nothing in AB 587 requires that social media
  4   companies’ terms of service define any categories of content. See id.
  5         An Assembly Judiciary Committee Report explained:
  6         In essence, AB 587 is a transparency measure. It would require social
  7         media companies to post their “terms of service,” especially as to the
  8         kinds of online behavior and activities they permit and, conversely, what
  9         kinds of behavior and activities subject a user to a temporary or
 10         permanent prohibition from using the social media service. Presumably,
 11         requiring these postings will serve three purposes. First, it will let users
 12         know what social media platforms do to flag and remove certain kinds of
 13         content, which may affect what sites users prefer to use. Second, it lets
 14         users know in advance what kind of content or conduct could lead to
 15         their being temporarily or permanently banned from using the social
 16         media service. Third, if social media companies are forced to disclose
 17         what they do in this regard, it may pressure them to become better
 18         corporate citizens by doing more to eliminate hate speech and
 19         disinformation.
 20   Cal. Assemb. Comm. on Judiciary Report, 2021-22 Sess. (A.B. 587), Apr. 27,
 21   2022, Request for Judicial Notice (“RJN”) Exh. 1, Docket entry 23-3.
 22   II.   THE ALLEGATIONS OF THE FAC
 23         Plaintiff Minds, Inc. (“Minds”) operates a social networking service. FAC
 24   ¶ 10. The service can be accessed through Minds’ own website or “as an app for
 25   Android and iPhone.” Id. While Minds has content-moderation rules that ban, inter
 26   alia, “revenge porn,” “doxxing,” and “malware,” it does not “have any regulation
 27   of the eight [sic] categories of speech identified in AB 587.” Id. ¶ 90. Minds has
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  1   less than $100 million in annual revenue, id. ¶ 92, and thus is exempt from AB
  2   587’s requirements.
  3        Plaintiff Tim Pool (“Pool”) is a “social media content creator” with millions of
  4   followers on various platforms. FAC ¶ 11. Pool has been “frequently accuse[d] of
  5   creating ‘hate speech,’ ‘disinformation,’ and ‘extremism’—labels he strongly
  6   rejects—often with the explicit intention of pressuring social networks to
  7   deplatform him.” Id. ¶¶ 11, 100.
  8        Plaintiff The Babylon Bee LLC (“The Bee”) publishes satirical news articles
  9   on its website, which it also posts to Twitter, Facebook, Instagram, and YouTube.
 10   Id. ¶ 12. Its satire has been criticized for “draw[ing] on and reinforce[ing]
 11   misinformation and conspiracy,” and for trafficking in “hate speech,
 12   misinformation, and disinformation.” Id. ¶¶ 12, 101. In 2022, Twitter suspended
 13   The Bee for violating Twitter’s hateful conduct policy; the account was restored
 14   after Elon Musk purchased Twitter. Id. ¶ 101.
 15        Plaintiff National Religious Broadcasters (“NRB”) is an association of
 16   “Christian communicators” with hundreds of members that use social media
 17   platforms. Id. ¶¶ 13, 15. One of its members, Salem Media Group Inc. (“Salem”),
 18   is itself a social media company subject to AB 587’s disclosure requirements. Id.
 19   ¶ 16. Due to AB 587, Salem will allegedly be subject to “onerous reporting
 20   requirements” and will face investigation and fines if the Attorney General does not
 21   “agree” with its content-moderation decisions. Id. ¶ 107.
 22        Shorn of hyperbole and rhetoric, the claims alleged in the FAC are as follows:
 23        A.   Count I: Violation of the First Amendment
 24        The FAC alleges that AB 587 was “written with the express intent to
 25   discourage expression of constitutionally protected viewpoints which may be
 26   subjectively deemed as ‘hate speech,’ ‘racism,’ ‘extremism,’ and ‘misinformation,’
 27   and disinformation.’” FAC ¶ 111. AB 587 allegedly makes it “more likely” that
 28   Plaintiffs Pool and Bee and numerous unspecified NRB members will “have their

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  1   content moderated and censored based on viewpoint.” Id. ¶ 118. And it allegedly
  2   imposes on Plaintiff Minds “an artificial ceiling on [its] ability to grow its social
  3   network and raise capital all while the law casts the platform, which is committed to
  4   free speech, as an outlier in the social media industry.” Id. ¶ 120. The FAC further
  5   alleges that AB 587 “threatens the anonymity of users which threatens their ability
  6   to speak and interact with plaintiffs.” Id. ¶ 117. Finally, it alleges that “NRB
  7   members, such as Salem Media, will be forced to provide burdensome reporting
  8   and compelled to censor speech to avoid penalties.” Id. ¶ 121.
  9        B.   Count II: Unconstitutional Overbreadth
 10        The FAC alleges that AB 587 is overbroad because it “regulates ‘hate speech,’
 11   ‘racism,’ ‘extremism,’ and ‘misinformation,’ and ‘disinformation,’” and thus
 12   “extends to a variety of legal, constitutionally protected speech.” Id. ¶¶ 124-25.
 13   Further, “its unconstitutional applications outweigh the limited number of
 14   applications to cases of speech which fall outside the scope of the First
 15   Amendment.” Id. ¶ 126.
 16        C.   Count III: Unconstitutional Vagueness
 17        The FAC alleges that AB 587 is unconstitutionally vague because it “includes
 18   numerous broad, vague and ambiguous terms,” such as “‘hate speech,’ ‘racism,’
 19   extremism,’ ‘radicalization,’ ‘disinformation,’ ‘misinformation,’ and ‘foreign
 20   political interference,’” and “contains no explicit standards for what any of these
 21   terms mean.” Id. ¶¶ 130-31.
 22                                   LEGAL STANDARD
 23        Under Federal Rule of Civil Procedure 12(b)(1), a party may move to dismiss
 24   a complaint on the basis that there is no subject matter jurisdiction. In such
 25   situations, the party asserting jurisdiction has the burden of proving it exists. Perry
 26   v. Newsom, 18 F.4th 622, 630 (9th Cir. 2021).
 27        A complaint may also be dismissed for failure to state a claim upon which
 28   relief can be granted. Fed. R. Civ. P. 12(b)(6). Dismissal is proper where there is

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  1   no cognizable legal theory or there are insufficient facts alleged to support a
  2   cognizable legal theory. Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). To
  3   defeat a Rule 12(b)(6) motion, a plaintiff must allege facts sufficient to “raise a
  4   right to relief above the speculative level.” Bell Atlantic Corp. v. Twombly, 550
  5   U.S. 544, 555 (2007). A court must assume the plaintiff’s allegations of fact are
  6   true and draw all reasonable inferences in the plaintiff’s favor. See Daniels-Hall v.
  7   Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010). However, the court is not
  8   required to “accept as true allegations that are unwarranted deductions of fact or
  9   unreasonable inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th
 10   Cir. 2008). And “[t]he tenet that a court must accept as true all of the allegations
 11   contained in a complaint is inapplicable to legal conclusions.” Ashcroft v. Iqbal,
 12   556 U.S. 662, 678 (2009). “A pleading that offers ‘labels and conclusions’ or a
 13   ‘formulaic recitation of the elements of a cause of action’” cannot survive a motion
 14   to dismiss. Id.
 15        Leave to amend need not be granted if “it is clear that the complaint could not
 16   be saved by an amendment.” Livid Holdings Ltd. v. Salomon Smith Barney, Inc.,
 17   416 F.3d 940, 946 (9th Cir. 2005).
 18                                        ARGUMENT
 19   I.   PLAINTIFFS LACK STANDING AND THEIR CLAIMS ARE NOT RIPE.
 20        Although NRB was added as a Plaintiff to avoid dismissal on standing
 21   grounds, the FAC still fails to allege a case or controversy under Article III of the
 22   Constitution. To establish standing, Plaintiffs must allege: (1) they suffered an
 23   “injury in fact,” which is an “actual or imminent” invasion of a legally protected
 24   interest that is “concrete and particularized”; (2) the injury must be “fairly
 25   traceable” to the challenged conduct of the defendant; and (3) it must be likely that
 26   the [plaintiffs’] injury will be redressed by a favorable judicial decision.” Italian
 27   Colors Rest. v. Becerra, 878 F.3d 1165, 1171 (9th Cir. 2018) (citations omitted).
 28   Plaintiffs must “face a realistic danger of sustaining a direct injury as a result of

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  1   [defendant’s] alleged illegal action.” Thomas v. Anchorage Equal Rights Comm’n,
  2   220 F.3d 1354, 1139 (9th Cir. 2000). “The touchstone for determining injury in
  3   fact is whether the plaintiff has suffered an injury or threat of injury that is credible,
  4   not ‘imaginary or speculative.’” Lopez v. Candaele, 630 F.3d 775, 786 (9th Cir.
  5   2010) (citation omitted); see Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d
  6   at 1139. Where an allegation of injury is conjectural or hypothetical and not clean-
  7   cut and concrete, concepts of standing and ripeness overlap. Wolfson v. Brammer,
  8   616 F.3d 1045, 1058 (9th Cir. 2010). See Texas v. United States, 523 U.S. 296, 300
  9   (1998); Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d at 1138. “A claim is
 10   not ripe for adjudication if it rests upon contingent future events that may not occur
 11   as anticipated, or indeed may not occur at all.” Texas v. United States, 523 U.S. at
 12   300; Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d at 1138.
 13        Here, the FAC does not plausibly allege any injury-in-fact caused by
 14   AB 587’s disclosure requirements. Indeed, the named Plaintiffs are not even
 15   subject to AB 587.3 Instead, the FAC rests largely on farfetched allegations that the
 16   law will somehow “cause social media companies to censor” content posted by
 17   Minds, Pool, The Bee, and unspecified members of the NRB (FAC ¶ 103), without
 18   citing any provision in the law that actually does that. Nothing in AB 587 tells
 19   social media companies what, if any, content-moderation actions they must take, or
 20   requires them to “censor” anyone. Cf. NetChoice, LLC v. Att’y Gen., 34 F.4th 1203-
 21   05 (challenging Florida statute’s content-moderation restrictions on private social
 22   media platforms).
 23        In similar fashion, the FAC alleges that by regulating large social media
 24   companies, the law will set “industry standards” and thereby ensure that Minds and
 25   other “less moderated platforms” will be viewed as “outliers” and “pariahs.” Id.
 26         3
               As noted, Plaintiff NRB allegedly has a single member that meets the
 27   definition of a “social media company.” Otherwise, none of the named Plaintiffs,
      and none of NRB’s other (unspecified) members, is required to make disclosures
 28   under the statute.
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  1   ¶¶ 70, 80; see id. ¶ 98 (alleging that AB 587 “creates an environment where Minds’
  2   lack of content moderation policies put it at odds with the state-mandated industry
  3   standards created by the law”). This, in turn, will allegedly “limit the company’s
  4   growth” and at the same time prevent it from “being the target of any strategic
  5   acquirer with $100 million or more in annual revenues ….” Id. ¶ 92. Again, this
  6   rests on a blatant misreading of AB 587, which does not dictate the terms of any
  7   company’s content-moderation policy, and does not require any platform to take
  8   any particular action with respect to any content or user. It also rests on pure
  9   speculation about future events in the marketplace, and the actions of a host of
 10   third-parties that may or may not behave the way Plaintiffs predict, and for reasons
 11   that have nothing to do with AB 587. See FAC ¶ 80 (alleging that AB 587 will
 12   make it “more likely that advertisers and app store platforms will not do business
 13   with Minds”.) Indeed, the FAC alleges that Google and Apple already require
 14   social media apps used on iPhone and Android phones to have content-moderation
 15   rules and procedures, and that Google and Apple have “banned, suspended, or not
 16   approved social media apps for insufficient levels of content moderation for ‘hate
 17   speech’ and ‘disinformation.’” Id. at ¶¶ 81-86. Plaintiffs’ real complaint is that
 18   other persons and entities have their own free speech rights and have exercised
 19   them to criticize Minds, Pool, The Bee, and others for spreading COVID
 20   disinformation, racist commentary, and hate speech, and to advocate that they be
 21   banned or “deplatformed,” and that some social media platforms have chosen (or
 22   will choose) to take action against them and others. Id. ¶¶ 11-12, 22, 24, 66, 80-86,
 23   89, 99-102. None of these activities are alleged to have been triggered by AB 587,
 24   indeed they predate AB 587.
 25        Finally, to the extent that the FAC tries to allege an injury directly caused by
 26   AB 587’s disclosure requirements, it fails. It alleges that NRB (standing in for
 27   Salem) has an injury-in-fact, because the statute gives the Attorney General and city
 28   attorneys “power to challenge whether a social media platform has correctly

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  1   categorized, flagged or actioned, effectively allowing these government agents to
  2   second guess social media platform decisions.” FAC ¶ 31-32 (misnumbered, at
  3   page 10). Further, “this enforcement regime will force social media platforms to err
  4   on the side of flagging and actioning any speech that arguably falls into any of the
  5   specified categories.” Id. This, again, is based on a fundamental misreading of the
  6   statute, and therefore does not plausibly allege an injury-in-fact. AB 587 only
  7   authorizes fines against a social media company that “[m]aterially omits or
  8   misrepresents required information in a report submitted” to the Attorney General.
  9   § 2278(a)(2)(C). This does not by any stretch authorize the Attorney General to
 10   “second guess” content-moderation decisions by social media platforms; AB 587
 11   does not tell social media platforms what they must do, it only requires them to
 12   accurately report their terms of service and actions they have taken to enforce their
 13   terms of service, so the public has a better understanding of their policies and
 14   practices.
 15         Social media platforms are statutorily exempt from liability for “any action
 16   voluntarily taken in good faith to restrict access to or availability of material that
 17   the provider or user considers to be obscene, lewd, lascivious, filthy, excessively
 18   violent, harassing, or otherwise objectionable, whether or not such material is
 19   constitutionally protected.” 47 U.S.C. § 230(c)(2)(A). The fact that Apple, Google,
 20   or others may (or may not) choose to take action against Plaintiffs or others does
 21   not give Plaintiffs standing to challenge AB 587, which does not impose any
 22   obligations on social media platforms to restrict access. Plaintiffs’ speculation that
 23   at some future date a social media platform, encouraged somehow by AB 587, may
 24   take action against them or others falls far short of establishing Article III
 25   jurisdiction.
 26   II.   PLAINTIFFS’ FIRST AMENDMENT CLAIM FAILS.
 27         As explained, AB 587 does not dictate content-moderation policies or
 28   decisions about any particular content or user on social media. It merely requires

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  1   covered social media companies to post their content-moderation policies and
  2   procedures so users can see them, and to report information about their content-
  3   moderation policies and decisions to the Attorney General on a semi-annual basis,
  4   so he can compile that information and make it available on his official website,
  5   enabling consumers to compare different platforms. Thus, AB 587 does nothing to
  6   convert private content-moderation decisions into state action, and Plaintiffs do not
  7   and could not allege otherwise. See infra Section III. Rather, AB 587 is in the
  8   same mold as other consumer disclosure statutes, such as food labeling and truth-
  9   in-lending laws. To the extent it regulates speech by covered social media
 10   companies, it involves compelled commercial speech of purely factual and
 11   uncontroversial information, consistent with the First Amendment.
 12        The test for compelled commercial disclosures was established in Zauderer v.
 13   Office of Disciplinary Counsel, 471 U.S. 626 (1985). “Under Zauderer, compelled
 14   disclosure of commercial speech complies with the First Amendment if the
 15   disclosure is reasonably related to a substantial governmental interest and is purely
 16   factual and uncontroversial.” CTIA – Wireless Assn. v. City of Berkeley, 928 F.3d
 17   832, 845 (9th Cir. 2019) (“CTIA”). Zauderer and its progeny reflect the
 18   unexceptional principle that “[t]he First Amendment does not generally protect
 19   corporations from being required to tell prospective customers the truth.”
 20   Nationwide Biweekly Admin. v. Owen, 873 F.3d 716, 721 (9th Cir. 2017).
 21        A.   The Disclosures Required by AB 587 Are Factual and
                Uncontroversial.
 22
 23        Starting with the first part of the Zauderer test, the Ninth Circuit has explained
 24   that the factual and uncontroversial requirement is satisfied where the law in
 25   question does not “attempt[] to ‘prescribe what shall be orthodox in politics,
 26   nationalism, religion or other matters of opinion, or force citizens to confess by
 27   word or act their faith therein.’” Envtl. Defense Ctr. v. U.S. E.P.A., 344 F.3d 832,
 28   849 (9th Cir. 2003). “Uncontroversial” refers to the “factual accuracy of the

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  1   compelled disclosure, not to its subjective impact on the audience.” CTIA, 854
  2   F.3d at 1117. See, e.g., Milavetz, Gallop & Milavetz v. United States, 559 U.S. 229,
  3   251 (2010) (upholding law requiring that certain bankruptcy lawyers disclose
  4   themselves as “debt relief agencies,” despite law firm’s argument that the term was
  5   “confusing and misleading”); Nat’l Biweekly Admin. v. Owen, 873 F.3d at 733
  6   (upholding requirement that mortgage refinancing company disclose that its
  7   solicitations were not authorized by the lender); CTIA, 928 F.3d at 846-47
  8   (upholding ordinance requiring cell phone retailers to disclose that cell phone use
  9   could cause exposure to “RF radiation” in excess of federal safety guidelines,
 10   notwithstanding argument that term was “fraught with negative associations”).4
 11        Here, although the FAC is littered with conclusory allegations that AB 587 is
 12   “viewpoint discriminatory,” see FAC ¶¶ 6-8, 80, 109, 111, 113, it fails to identify
 13   any provision of the law that requires any disclosure that is not purely factual. AB
 14   587 simply requires that social media companies post their terms of service and
 15   specific factual information about those terms of service, § 22676(a), and provide
 16   semi-annual reports to the Attorney General that include their current terms of
 17   service (§ 22677(a)(1)), as well as related statistical information on “content that
 18   was flagged by the social media company as content belonging to any of the
 19   categories described in [§ 22677(a)(3)].” § 22678.
 20        AB 587 only requires social media companies to state “whether the current
 21   version of the terms of service defines each of the following categories of content,
 22   and, if so, the definitions of those categories, including any subcategories.”
 23
            4
 24           In Beeman v. Anthem Prescription Mgmt., LLC, 165 Cal. Rptr. 3d 800, 821-
      22 (Cal. 2013), the California Supreme Court applied the California Constitution’s
 25   free speech provision and upheld a state law requiring prescription drug claim
 26   processors to compile and disclose information on pharmacy fees. Id. at 804.
      Drawing on federal law, the Court expressly rejected arguments that the statute
 27   forced the affected parties to support a political position adverse to their interests,
      merely because the information might be used to influence public debate on drug
 28   reimbursement rates. Id. at 816.
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  1   § 22677(a)(3) (italics added). Thus, if a social media company’s terms of service
  2   do not use the categories listed in AB 587, its report to the Attorney General would
  3   simply disclose that fact. Likewise, if a social media company does not moderate—
  4   or “flag”—content meeting its own definitions of “hate speech,” “misinformation,”
  5   or the other categories listed in AB 587, it would have no numerical data on that
  6   subject to include its report. See id. All of the disclosure requirements are purely
  7   factual and noncontroversial.
  8        B.   AB 587 Is Reasonably Related to a Substantial State Interest.
  9        AB 587 also meets the second part of the Zauderer test, because it is
 10   “reasonably related to a substantial governmental interest.” CTIA, 928 F.3d at 845.
 11   California clearly has a substantial interest in requiring social media companies to
 12   be transparent about their content-moderation policies and decisions, so consumers
 13   can make informed decisions. E.g., Am. Hosp. Ass’n v. Azar, 983 F.3d 528, 540-41
 14   (D.C. Cir. 2020) (upholding statute requiring hospitals to disclose pricing
 15   information, “to achieve goal of informing consumers about a particular product
 16   trait”) (quoting Am. Meat Inst. v. U.S. Dept. of Agric., 760 F.3d 18, 26 (D.C. Cir.
 17   2014) (en banc); Nat’l Elec. Mfrs. Assn. v. Sorrell, 272 F.3d 104, 115 (2d Cir.
 18   2011) (rejecting challenge to regulation requiring disclosure of information
 19   concerning mercury-containing products “to better inform consumers about the
 20   products they purchase”). Accord Beeman v. Anthem Prescription Mgmt., LLC,
 21   165 Cal. Rptr. 3d at 822.
 22        As explained above, the purposes of AB 587 include letting users know
 23   “what social media platforms do to flag and remove certain kinds of content,
 24   which may affect what sites users prefer to use,” and “what kind of content or
 25   conduct could lead to their being temporarily or permanently banned from
 26   using the social media service.” See RJN, Exh. 1, Docket entry 23-3. AB 587
 27   directly advances these substantial state interests. Indeed, courts looking at
 28   similar disclosure requirements in the social media space have expressed no

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  1   concern about their constitutionality. In addition to content-moderation
  2   restrictions, the statute at issue in NetChoice, LLC v. Att’y Gen., 34 F.4th at
  3   1230, contains provisions requiring that social media platforms “publish the
  4   standards, including detailed definitions, it uses or has used for determining
  5   how to censor, deplatform, and shadow ban,” and that they inform users about
  6   changes to their terms of service before implementing them. Id. On an appeal
  7   from an order granting a preliminary injunction, the Eleventh Circuit held that
  8   the statute’s content-moderation restrictions were likely unconstitutional, but
  9   that Florida’s interest in requiring social media platforms to publish their
 10   content-moderation standards was likely legitimate, because it ensures that
 11   “consumers who engage in commercial transactions with platforms by
 12   providing them with a user and data for advertising in exchange for access to a
 13   forum—are fully informed about the terms of that transaction and aren’t
 14   misled about platforms’ content-moderation.” Id. Similarly, the Texas statute
 15   at issue in NetChoice, LLC v. Paxton required large social media platforms to
 16   “publish an acceptable use policy and disclose information about the
 17   Platforms’ content management and business practices,” and a report
 18   containing high-level statistics about their content-moderation activities.
 19   49 F.4th at 485. Despite the law’s other problems, there was no dispute that
 20   its disclosure requirements “advance the state’s interest in enabling users to
 21   make an informed choice regarding whether to use the Platforms.” 49 F.4th at
 22   485 (cleaned up). Here, AB 587 provides similar transparency and is
 23   constitutional.
 24        As explained, the Legislature also considered that, by requiring greater
 25   transparency about platforms’ content-moderation rules and decisions, AB 587 may
 26   result in public pressure on social media companies to “become better corporate
 27   citizens by doing more to eliminate hate speech and disinformation” on their
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  1   platforms. RJN, Exh. 1, Docket entry 23-3. This, too, is a substantial state interest.5
  2   Although Plaintiffs contend the Legislature’s “true” purpose was to squelch
  3   disfavored speech, and make it more likely that social media platforms will
  4   “censor” Plaintiffs and others, such speculation fails in the face of the plain text and
  5   the history of the bill, both of which make clear that the Legislature took pains to
  6   ensure that AB 587 “does not require social media companies to moderate or
  7   remove hateful or incendiary content.” Id. at 4 (emphasis added).
  8        Courts “assume that the objectives articulated by the legislature are actual
  9   purposes of the statute, unless an examination of the circumstances forces [the
 10   courts] to conclude that they could not have been a goal of the legislature.” Am.
 11   Fuel & Petrochem. Mfrs. v. O’Keefe, 903 F.3d 903, 912 (9th Cir. 2018). Nothing
 12   alleged in the FAC overcomes that strong presumption.6 More fundamentally,
 13
            5
                The Legislature was concerned that “social media has become a powerful
 14   and largely unregulated platform for groups espousing hate, violence, bigotry,
 15   conspiracy theories and misinformation.” RJN, Exh. 1, Docket entry 23-3. Use of
      social media has ballooned from only five percent of adults in 2005 to over 70
 16   percent of adults in 2022. A.B 587 S. Judiciary Comm. Report, 2021-22 Sess.
      (June 23, 2022), RJN, Exh. 2, Docket entry 23-4. During that time, social media
 17   companies’ content-moderation policies have dramatically evolved; at the same
      time, “proliferation of objectionable content and ‘fake news’ has led to calls for
 18   swifter and more aggressive action in response.” Id. The Legislative history notes
 19   that a recent study of Twitter posts determined that “more targeted, discriminatory
      tweets posted in a city related to a higher number of hate crimes.” A.B. 587 S.
 20   Rules Comm. Rep., 2021-22 Sess. (Aug. 11, 2022), RJN, Exh. 3, Docket entry 23-
      5; see A.B. 587 Assemb. Comm. on Judiciary Rep., 2021-22 Sess. (April 21, 2021),
 21   RJN, Exh. 4, Docket entry 23-6. The Legislature also was concerned that social
 22   media companies were deploying a number of methods of content moderation, but
      there was a lack of transparency into those methods. RJN, Exh. 2 at 11, Docket
 23   entry 23-4, and recognized “backlash against perceived censorship in response to
      filtering of content and alleged ‘shadow banning,’’ RJN, Exh. 3 at 3, Docket entry
 24   23-5. AB 587 was the Legislature’s response to these concerns.
              6
                In an attempt to demonstrate that AB 587’s “true” purpose is to suppress
 25   protected speech, the FAC cites and mischaracterizes public comments made by the
 26   Governor and the Attorney General. Compare FAC ¶¶ 21-25 with RJN Exhs. 5-6,
      Docket entries 23-7, 23-8. These statements are not part of the bill’s legislative
 27   history. See Am. Fuel & Petrochem. Mfrs. v. O’Keefe, 903 F.3d at 912 (holding
      that the district court correctly found that statements by public officials “do not
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  1   when, as here, a statute is facially constitutional, “a plaintiff cannot bring a free-
  2   speech challenge by claiming that the lawmakers who passed it acted with a
  3   constitutionally impermissible purpose.” NetChoice, LLC v. Att’y Gen., 34 F.4th at
  4   1224.
  5        The “[m]andated disclosure of accurate, factual, commercial information does
  6   not offend the core First Amendment values of promoting efficient exchange of
  7   information or protecting individual liberty interests. Such disclosure furthers,
  8   rather than hinders, the First Amendment goal of the discovery of truth and
  9   contributes to the efficiency of the ‘marketplace of ideas.’” Nat’l Elec. Mfrs. Assn.
 10   v. Sorrell, 272 F.3d at 113-114. AB 587 “furthers, rather than hinders,” that goal.
 11        C.    The FAC Fails to Allege Facts That Would Support a Finding
                 That AB 587 Is Unduly Burdensome.
 12
 13        A disclosure requirement could violate the First Amendment if it was so
 14   “unjustified or unduly burdensome” that it “chill[s] protected commercial speech.”
 15   Zauderer, 471 U.S. at 651. See CTIA, 928 F.3d at 848–49; Am. Meat Inst. v. U.S.
 16   Dep't of Agric., 760 F.3d at 27 (“Zauderer cannot justify a disclosure so
 17   burdensome that it essentially operates as a restriction on constitutionally protected
 18   speech”). Nothing in the statute or the FAC suggests that the disclosure
 19   requirements of AB 587—which apply only to social media companies with $100
 20   million in annual revenues—unduly burdens protected speech. Plaintiff’s
 21   conclusory allegations of burden, FAC ¶¶ 6, 31, 12, are insufficient. Indeed,
 22   Plaintiffs concede that burden is consistent with other business regulations. Id. ¶ 6.
 23
 24
      demonstrate that objectives identified by the legislature were not the true goals” of
 25   the statute). Moreover, under California law, legislative history consists of
 26   materials relating to the bill that the legislature as a body had before it when
      deliberated over the bill. Noori v. Countrywide Payroll & HR Solutions, Inc., 257
 27   Cal. Rptr. 3d 102, 110 n. 11 (Cal. Ct. App. 2019). The statements plaintiffs cite
      were not before the Legislature, and in fact post-date the Legislature’s vote. See
 28   RJN, Exhs. 5-6, Docket entries 23-7 – 23-8.
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  1   III. PLAINTIFFS’ OVERBREADTH CLAIM FAILS.
  2        Plaintiffs’ overbreadth claim also fails as a matter of law. A statute may be
  3   unconstitutionally overbroad only where a plaintiff has shown that the “law is
  4   written so broadly that it may inhibit the constitutionally protected speech of a third
  5   party, even if his own speech may be prohibited.” Foti v. City of Menlo Park, 146
  6   F.3d 629, 635 (9th Cir. 1998). To prevail on a facial overbreadth challenge, a
  7   plaintiff must show that “a substantial number of [a law’s] applications are
  8   unconstitutional, judged in relation to the statute’s plainly legitimate sweep.” Knox
  9   v. Brovich, 907 F.3d 1167, 1180 (9th Cir. 2018) (quoting United States v. Stevens,
 10   559 U.S. 460, 473 (2010)). Invalidation of a statute for First Amendment
 11   “overbreadth is ‘strong medicine’ that is not to be ‘casually employed.’” United
 12   States v. Sineneng-Smith, 140 S. Ct. 1575, 1581 (2020) (citation omitted).
 13        Here, Plaintiffs’ overbreadth challenge rests on their misunderstanding of the
 14   statute, specifically, their contention that AB 587 “regulates ‘hate speech,’ ‘racism,’
 15   ‘extremism,’ and ‘misinformation,’ and ‘disinformation,’” and thus “extends to a
 16   variety of legal, constitutionally protected speech.” Id. ¶ 112. As discussed above,
 17   AB 587 simply requires social media companies to publicly disclose information
 18   about their content-moderation policies and decisions; it does not regulate the
 19   substance of those policies and decisions. Nor does it regulate the speech of social
 20   media users, who are free to post any content they wish, subject to the platform’s
 21   independent content-moderation policies and decision-making. 7 As made clear by
 22
            7
 23           Plaintiffs further suggest that the law is under-inclusive because it does not
      include child pornography in addition to the categories of content listed in section
 24   22677(a)(3). See FAC ¶¶ 33-34. This, too, fails to state a claim. Child
      pornography is not speech under the First Amendment and is a crime under
 25   California and federal law. See Cal. Penal Code §§ 311-311.12; 18 U.S.C. § 2251.
 26   The appropriate response to child pornography on a social media platform is a
      criminal prosecution, not merely suspension of the sex offender’s social media
 27   account. Moreover, “the First Amendment imposes no freestanding
      ‘underinclusiveness limitation’ . . . .” French v. Jones, 876 F.3d 1228, 1238 (9th
 28   Cir. 2017) (quoting Williams-Yulee v. Fla. Bar, 575 U.S. 433, 449 (2015)).
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  1   case law in this circuit, social media companies are private actors with their own
  2   First Amendment rights, and their content-moderation decisions are not attributable
  3   to the State absent exceptional circumstances not alleged here. See O’Handley v.
  4   Padilla, 579 F. Supp. 3d at 1172 (“Like a newspaper or a news network, [social
  5   media platforms] make decisions about what content to include, exclude, moderate,
  6   filter, label, restrict, or promote, and those decisions are protected by the First
  7   Amendment.”); O’Handley v. Weber, 62 F.4th at 1156-618 (9th Cir. 2023) (holding
  8   that First Amendment claim based on alleged government influence on private actor
  9   requires that the government official “exercise coercive power or [have] provided
 10   such encouragement, either overt or covert, that the choice must be deemed in law
 11   to be that of the State” (citation omitted).
 12   IV. PLAINTIFFS’ VAGUENESS CLAIM FAILS,
 13        The FAC also fails to allege a cognizable claim that AB 587 is
 14   unconstitutionally vague. A challenge on vagueness grounds will be upheld only if
 15   the enactment is impermissibly vague in all of its applications, or specifies “no
 16   standard of conduct . . . at all.” Village of Hoffman Estates v. Flipside, Hoffman
 17   Estates, Inc., 455 U.S. 489, 494-495, 489 n. 7 (1982); Boutilier v. Immigr. &
 18   Naturalization Serv., 387 U.S. 118, 121 (1967) (statute must be “so vague and
 19   indefinite as really to be no rule or standard at all”).
 20        Plaintiffs allege that AB 587 is unconstitutionally vague because it “includes
 21   numerous broad, vague and ambiguous terms” such as “‘hate speech,’ ‘racism,’
 22   extremism,’ ‘radicalization,’ ‘disinformation,’ ‘misinformation,’ and ‘foreign
 23   political interference.’” FAC ¶ 118. But Plaintiffs do not explain why those terms
 24   are either vague or indefinite. Moreover, Plaintiffs themselves plainly understand
 25   the terms, since they are able to allege that Minds’ content-moderation policy does
 26   not regulate these categories of content. Id. ¶ 86. More fundamentally, AB 587
 27   does not require that social media companies moderate user content at all. And
 28   with respect to those terms in particular, AB 587 simply requires a covered social

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  1   media company to include in its report to the Attorney General “[a] statement of
  2   whether the current version of the terms of service defines” each of those terms, and
  3   if so, include the definitions in its report. § 22677(a)(3) (italics added). Thus, the
  4   social media companies themselves decide how they choose to define those terms.
  5   Plaintiffs’ claim of unconstitutional vagueness fails as a matter of law.
  6   V.   LEAVE TO AMEND SHOULD BE DENIED.
  7        Leave to amend need not be granted if “it is clear that the complaint could not
  8   be saved by an amendment.” Livid Holdings Ltd., 416 F.3d at 946. Plaintiffs have
  9   already amended once, they still lack standing, their claims still fail as a matter of
 10   law, and the defects in the FAC cannot be saved by yet another round of changes.
 11   The Court should not grant Plaintiffs leave to amend.
 12                                      CONCLUSION
 13        The Court should dismiss the FAC without leave to amend.
 14   Dated: May 25, 2023                            Respectfully submitted,
 15                                                  ROB BONTA
                                                     Attorney General of California
 16                                                  PAUL STEIN
                                                     Supervising Deputy Attorney General
 17
 18
                                                     /s/ Sharon L. O’Grady
 19                                                  SHARON L. O'GRADY
                                                     Deputy Attorney General
 20                                                  Attorneys for Defendant
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  1                           CERTIFICATE OF COMPLIANCE
  2       The undersigned, counsel of record for Defendant, certifies that this brief
  3   contains 6,555 words, which:
  4       X complies with the word limit of L.R. 11-6.1.
  5       X complies with the word limit set by court order dated April 13, 2023.
  6   Dated: May 25, 2023                         Respectfully submitted,
  7                                               ROB BONTA
                                                  Attorney General of California
  8
  9
                                                  /s/ Sharon L. O’Grady
 10                                               SHARON L. O'GRADY
                                                  Deputy Attorney General
 11                                               Attorneys for Defendant
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                             Appendix
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